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 Not for Publication

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  MAXLITE, INC.,

                 Plaintiff,
                                                                Civil Action No. 15-1116
         v.
                                                                         ORDER
  ATG ELECTRONICS, INC., et al.,

                 Defendants.




  John Michael Vazquez, U.S.D.J.

        This matter comes before the Court by way of Sophia Galleher and Matthew Kim’s

 (collectively, the “Employee Defendants”) motion for entry of final judgment pursuant to Fed. R.

 Civ. P. 54(b). D.E. 523. On December 21, 2022, following a full hearing, the Court issued an

 Oral Opinion and accompanying Order finding that Defendant ATG Electronics, Inc. “is not

 responsible for the Employee Defendants’ legal fees as a third-party payor pursuant to In re State

 Grand Jury Investigation, 983 A.2d 1097 (N.J. 2009),” and dismissing the Employee Defendants’

 crossclaim. D.E. 490, 493. The Court granted the Employee Defendants leave to file a motion to

 amend their crossclaims to assert appropriate contract or quasi-contract claims. Id. The Employee

 Defendants filed a motion to amend their crossclaim, D.E. 500, but now request that their motion

 to amend be terminated and that the Court’s December 21, 2022 Order dismissing the Employee

 Defendants’ crossclaim be entered as final judgment pursuant to Fed. R. Civ. P. 54(b). D.E. 523,

 524. The Court held a telephone conference with all parties on March 16, 2023, and no party
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 objected to the Court granting the motion. D.E. 526. Thereafter, the Employee Defendants

 confirmed that they wished to stand by the present motion. D.E. 534; and it

        APPEARING that Fed. R. Civ. P. 54(b) provides that

                When an action presents more than one claim for relief—whether as
                a claim, counterclaim, crossclaim, or third-party claim—or when
                multiple parties are involved, the court may direct entry of a final
                judgment as to one or more, but fewer than all, claims or parties only
                if the court expressly determines that there is no just reason for
                delay.

 Fed. R. Civ. P. 54(b); and it further

        APPEARING that pursuant to this rule, an order which terminates fewer than all claims

 “may be final and immediately appealable under § 1291 when the district court makes an express

 determination that there is no just cause for delay and expressly directs entry of final judgment.”

 Carter v. City of Philadelphia, 181 F.3d 339, 343 (3d Cir. 1999), cert. denied, 528 U.S. 1005

 (1999); and it further

        APPEARING that in making determinations under Rule 54(b)

                A district court must first determine that it is dealing with a “final
                judgment.” It must be a “judgment” in the sense that it is a decision
                upon a cognizable claim for relief, and it must be “final” in the sense
                that it is “an ultimate disposition of an individual claim entered in
                the course of a multiple claims action.”

 Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 7 (1980) (quoting Sears, Roebuck & Co. v.

 Mackey, 351 U.S. 427, 436 (1956)); and it further

        APPEARING that in in determining whether there is “just reason for delay” under Rule

 54(b), the Third Circuit has instructed district courts to consider the following:

                (1) the relationship between the adjudicated and unadjudicated
                claims; (2) the possibility that the need for review might or might
                not be mooted by future developments in the district court; (3) the
                possibility that the reviewing court might be obliged to consider the
                same issue a second time; (4) the presence or absence of a claim or

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                  counterclaim which could result in set-off against the judgment
                  sought to be made final; (5) miscellaneous factors such as delay,
                  economic and solvency considerations, shortening the time of trial,
                  frivolity of competing claims, expense, and the like.
 Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195, 203 (3d Cir. 2006) (citation omitted); and it

 further

           APPEARING that the Court’s December 21 Order, D.E. 490, is an ultimate disposition of

 the Employee Defendants’ crossclaim, which was dismissed in its entirety, unless the Employee

 Defendants’ amend such crossclaim; and it further

           APPEARING that the Employee Defendants have asked that their motion to amend the

 crossclaim be terminated in connection with the decision on the pending motion; and it further

           APPEARING that the Employee Defendants’ crossclaim for attorneys’ fees is separate

 and distinct, both factually and legally, from the remaining claims; and it further

           APPEARING that there is no risk that future developments in this case might moot any

 review of the Court’s December 21 Order; and it further

           APPEARING that there is no risk that if the Court’s December 21 Order is appealed, a

 reviewing court would be obliged to consider the same issue twice; and it further

           APPEARING that there is no just cause for delay of final judgment on the Employee

 Defendants’ crossclaim; and it further

           APPEARING that at the telephone conference on March 16, 2023, no party objected to

 the entry of final judgment and dismissal of the Employee Defendants’ crossclaim.

           Therefore, for the foregoing reasons, and for good cause shown,

           IT IS on this 22nd day of March 2023,

           ORDERED that the Employee Defendants’ motion to amend their crossclaim, D.E. 500,

 is terminated; and it is further


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         ORDERED that the Employee Defendants’ crossclaim is DISMISSED with prejudice;

 and it further

         ORDERED that the Court’s December 21, 2022 Order, D.E. 490, shall be considered final

 judgment on the Employee Defendants’ sole crossclaim.


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                                                   John Michael Vazquez, U.S.D.J.




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